                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )          No. 3:09-CR-64
                                                   )
 RONALD THOMPSON-BEY,                              )          (PHILLIPS/GUYTON)
                                                   )
                       Defendant.                  )


                             REPORT AND RECOMMENDATION

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This case is before the Court on the Motion of Defendant Ronald

 Thompson-Bey to Dismiss Due to Defective Indictment [Doc. 116], filed on September 1, 2009.

 The Court held a hearing on this motion on November 3, 2009. Assistant United States Attorney

 Tracy L. Stone represented the Government. Attorney David H. Dupree appeared on behalf of the

 defendant, who was also present.

                The Defendant contends that he should be dismissed from the Superseding Indictment

 [Doc. 78] because it fails to allege that he committed any overt act in furtherance of the alleged

 conspiracy. The Government responds [Doc. 130] argues that it does not need to allege or prove an

 overt act in furtherance of a drug conspiracy. At the November 3 hearing, defense counsel explained

 that while the Government might not have to prove an overt act, per se, it does have to show that

 the Defendant participated in the agreement to commit the offense. He asserted that in the present


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 case, only the incident of February 19, 2009, which was the subject of the suppression motion,

 purports to tie the Defendant to the alleged conspiracy or to show that he was a part of a joint

 venture.

                 “The indictment . . . must be a plain, concise, and definite written statement of the

 essential facts constituting the offense charged[.]” Fed. R. Crim. P. 7(c)(1). As a general rule, an

 indictment passes constitutional muster if it “contains the elements of the offense charged and fairly

 informs a defendant of the charge against which he must defend, and, second, enables him to plead

 an acquittal or conviction in bar of future prosecutions for the same offense.” Hamling v. United

 States, 418 U.S. 87, 117 (1974); United States v. Landham, 251 F.3d 1072, 1079 (6th Cir. 2001)

 (quoting Hamling). An indictment may allege the charges using the words of the statute itself as

 long as it gives all the elements of the offense “‘fully, directly, and expressly[.]’” Hamling, 418 U.S.

 at 117 (quoting United States v. Carll, 105 U.S. 611, 612 (1882)); Landam, 251 F.3d at 1079.

 Moreover, the statutory language “‘must be accompanied with such a statement of the facts and

 circumstances as will inform the accused of the specific offense, coming under the general

 description, with which he is charged.’” Hamling, 418 U.S. at 117-18 (quoting United States v.

 Hess, 124 U.S. 483, 487(1888)); Landam, 251 F.3d at 1079.

                 The elements of a drug conspiracy are: “‘(1) an agreement to violate drug laws; (2)

 knowledge of and intent to join the conspiracy; and (3) participation in the conspiracy.’” United

 States v. Cox, 565 F.3d 1013, 1015 (6th Cir. 2009) (quoting United States v. Gardner, 488 F.3d 700,

 710 (6th Cir. 2007)), cert. denied, 2009 WL 3422908. The Government does not have to prove an

 overt act in furtherance of the conspiracy. United States v. Deitz, 577 F.3d 672, 678 (6th Cir. 2009).

 Accordingly, the Defendant’s contention that the indictment fails to charge him with an overt act


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 is unavailing.

                  The First Superseding Indictment states as follows:

                  The Grand jury charges that, from in [sic.] or about October 2008,
                  and continuing until on or about May 15, 2009, in the Eastern
                  District of Tennessee and elsewhere, the defendants, HOLLIE
                  MINGIE, GREGORY BREEDEN, JAMES WILLIAMS, DEVON
                  JOHNSON, RONALD THOMPSON-BEY, ESTHER
                  ELIZABETH MCCALEB-PIPPINS, JONATHAN PAUL
                  MCCALEB, JUSTIN MELSON, BRANDON BOWMAN,
                  CORNEL THOMPSON, JR., and WENDY VANCE, did combine,
                  conspire, confederate, and agree with each other and others to
                  knowingly, intentionally, and without authority distribute, and
                  possess with intent to distribute, one-hundred (100) grams or more
                  of a mixture and substance containing a detectable amount of
                  heroin, a Schedule I controlled substance, in violation of 21 U.S.C.
                  §§ 846, 841(a)(1) and 841(b)(1)(B).

 This indictment alleges that the Defendant and others agreed to violate the drug laws through the

 distribution of heroin and the possession of heroin with intent to distribute. The indictment

 sufficiently charges all of the elements of the offense of conspiracy.

                  The Defendant also contends that the only act connecting him to the case–his

 possession of heroin and Oxycontin on February 19, 2009, in Michigan–is the subject of a

 suppression motion. This Court has recommended for reasons set out fully in its Report and

 Recommendation [Doc. 170] that the evidence gained in the February 13, 2009 stop of the

 Defendant not be suppressed. The Defendant also argues that the Government’s informant never

 linked him to any criminal activity and that all recorded buys took place after he was incarcerated

 in February 2009. The Court finds that these contentions do not relate to a defect in the indictment

 but, instead, challenge the sufficiency of the Government’s evidence against the Defendant, which

 is a matter for the jury to determine at trial. See Fed. R. Crim. P. 12(b)(1) (providing that only

 matters that can be determined “without a trial of the general issue” are the appropriate subject of

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 a pretrial motion). Accordingly, the Court RECOMMENDS that the Motion of Defendant Ronald

 Thompson-Bey to Dismiss Due to Defective Indictment [Doc. 116] be DENIED.1


                                                Respectfully submitted,


                                                     s/ H. Bruce Guyton
                                                United States Magistrate Judge




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           Any objections to this report and recommendation must be served and filed within fourteen
 (14) days after service of a copy of this recommended disposition on the objecting party. Fed. R.
 Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified waives the right
 to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v. Branch, 537 F.3d
 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985) (providing that failure
 to file objections in compliance with the required time period waives the right to appeal the District
 Court’s order). The District Court need not provide de novo review where objections to this report
 and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806 F.2d 636, 637 (6th
 Cir. 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation
 of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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